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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


 DAVID COES,

                         Plaintiff,

            v.
                                                     C.A. No. 1:24-cv-35-WES-LDA
 COMMUNITY COLLEGE OF RHODE
 ISLAND, SUZANNE CARR, MADDIE
 JOSEPHS, PAULA CARDILLO,
 ROSEMARY COSTIGAN, TRACY
 KARASINSKI, and ROBERT CIPPOLA

                         Defendants.


                             DEFENDANTS’ RULE 16 STATEMENT

            Based upon Judge Smith’s Memorandum and Order dated April 15, 2025, Plaintiff’s

 remaining cause of action against the above-listed CCRI Defendants alleges a disputed procedural

 due process claim under 42 U.S.C. § 1983. In their Answer filed on April 29, 2025, the CCRI

 Defendants raised various affirmative defenses, including the proper application of CCRI’s

 academic policies and procedures and the qualified immunity protections afforded to each

 individual defendant. ECF No. 21 at 19-20 (pleading eight affirmative defenses).

            CCRI dismissed David Coes (“Coes”) from its Diagnostic Medical Sonography Program

 (“Program”) during the fall 2022 semester, after The Miriam Hospital (“Hospital”), a valued

 clinical affiliate of CCRI, abruptly terminated Coes from a required internship assignment in the

 Program’s curriculum and trespassed him from all Lifespan properties for clinical purposes. The

 Hospital took this abrupt and serious action because, throughout his internship, Coes “repeatedly

 discussed his possession of weapons in great detail, in a manner intimidating to staff, including

 methods of avoiding detection.” Obviously, a report of a student’s touting of his possession of


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 weapons merits immediate and high attention from a college, particularly where the student made

 such comments and acted in a threatening manner within a hospital while representing CCRI.

 CCRI had to act promptly to address not only the potential threats posed within the clinical

 internship setting, but also within its campus community.

            Contrary to Coes’ contention, his high grade point average did not justify his continuation

 in the Program, where his satisfactory performance in clinical settings was a central academic

 component of the curriculum. Acting fully within its institutional rights and academic discretion,

 CCRI determined that Coes was professionally unfit to remain in the Program. CCRI properly

 applied its academic policies and procedures in its evaluation of whether Coes had met the

 Program’s professionalism standards and was academically qualified to continue. This was not a

 matter that should have been resolved under CCRI’s separate and distinct student conduct

 disciplinary process, as Coes wrongly contends.

            Applying United States Supreme Court precedent, this Court should show deference to

 CCRI’s academic determination. “Courts are particularly ill-equipped to evaluate academic

 performance,” and “warn[ing] against any such judicial intrusion into academic decision making.”

 Board of Curators of the Univ. of Mo. v. Horowitz, 435 U.S. 78, 92 (1978). See also Haddad v.

 Bryant Univ., C.A. No. 18-314-JJM-PAS, 2019 WL 3084352 (D.R.I. July 15, 2019), at *4

 (“[M]atters of academic judgment are generally better left to the educational institutions than to

 the judiciary and [courts] have accorded great deference where such matters are at issue.”)

 (alterations in original) (quoting Mangla v. Brown Univ., 135 F.3d 80, 84 (1st Cir. 1998)). CCRI

 acted justifiably and reasonably in concluding that Coes was professionally unfit to remain in the

 Program, while affording him with adequate notice and a sufficient opportunity to be heard

 consistent with its academic policies and procedures.


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            Even if there were merit to Coes’ claim that CCRI should have applied instead its student

 conduct disciplinary procedures (which there is not), the individual defendants have a qualified

 immunity defense. The facts do not show any violation of a constitutional right and any such

 constitutional right was not clearly established during the time period. CCRI’s administrators

 acted reasonably in response to a highly serious matter that they considered in their professional

 judgment to be predominantly an academic concern, and there is no showing here that Coes was

 constitutionally entitled to have the matter determined under CCRI’s student conduct disciplinary

 process.

            There was no procedural due process violation by any CCRI Defendant. And, the evidence

 supports CCRI’s justification for its academic removal of Coes from the Program based upon his

 unprofessionalism and inability to be able to complete its required clinical assignments going

 forward – either at a Lifespan facility (where the health care system had trespassed him from all

 of its properties for clinical purposes) or any other clinical affiliate of CCRI’s Program.

                                                        COMMUNITY COLLEGE OF RHODE
                                                        ISLAND, SUZANNE CARR, MADDIE
                                                        JOSEPHS, PAULA CARDILLO,
                                                        ROSEMARY COSTIGAN, TRACY
                                                        KARASINSKI, and ROBERT CIPOLLA

                                                        By Their Attorney,

                                                        /s/ Steven M. Richard
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                                   CERTIFICATE OF SERVICE

            I certify that, on June 10, 2025, this memorandum was filed and served electronically

 through the Court’s CM/ECF system. Additionally, a copy was served upon Plaintiff by an email

 addressed to davidvcoes@gmail.com.



                                                      /s/ Steven M. Richard




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